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     OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC,
14   OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P.,
     OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV GP II, L.L.C.,
15   OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV, L.L.C.,
     OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P.,
16   OpenAI Startup Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P.,
     Aestas Management Company, LLC, and Aestas LLC
17

18
                                 UNITED STATES DISTRICT COURT
19
                              NORTHERN DISTRICT OF CALIFORNIA
20
                                        OAKLAND DIVISION
21
     ELON MUSK, et al.,                                Case No. 4:24-cv-04722-YGR
22
                       Plaintiffs,                     REQUEST FOR LEAVE TO FILE
23                                                     SUPPLEMENTAL MATERIAL IN
            v.                                         SUPPORT OF OPENAI DEFENDANTS’
24                                                     OPPOSITION TO PLAINTIFFS’
     SAMUEL ALTMAN, et al.,                            MOTION FOR A PRELIMINARY
25                                                     INJUNCTION
                       Defendants.
26

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                            REQUEST FOR LEAVE TO FILE SUPPLEMENTAL MATERIAL
                   ISO OPENAI DEFENDANTS’ OPPOSITION TO PRELIMINARY INJUNCTION MOTION
                                      CASE NO. 4:24-CV-04722-YGR
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 1          Pursuant to Local Rule 7-3(d), Defendants Samuel Altman, Gregory Brockman, OpenAI,
 2   Inc., OpenAI L.P., OpenAI, L.L.C., OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI Global,
 3   LLC, OAI Corporation, LLC, OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC,
 4   OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P., OpenAI Startup Fund SPV GP
 5   I, L.L.C., OpenAI Startup Fund SPV GP II, L.L.C., OpenAI Startup Fund SPV GP III, L.L.C.,
 6   OpenAI Startup Fund SPV GP IV, L.L.C., OpenAI Startup Fund SPV I, L.P., OpenAI Startup
 7   Fund SPV II, L.P., OpenAI Startup Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P.,
 8   Aestas Management Company, LLC, and Aestas LLC (the “OpenAI Defendants”) respectfully
 9   request the Court’s permission to file in support of their Opposition to Plaintiffs’ Motion for a
10   Preliminary Injunction a copy of a “letter of intent” from Plaintiffs’ counsel to the Board of
11   Directors of OpenAI, Inc., dated February 10, 2025. See Ex. A.
12          The letter, sent on behalf of a group of private investors led by Elon Musk, in his capacity
13   as CEO of Plaintiff xAI, purports to make an unsolicited bid “to acquire all assets . . . of OpenAI,
14   Inc.” Id. at 1. The investors backing Musk’s takeover bid include private equity firms managed
15   by Antonio Gracias and Gavin Baker, who have submitted declarations in support of Plaintiffs’
16   motion for a preliminary injunction. See Dkt. Nos. 73-31, 73-33; see also Ex. A at 1, 3.
17          Musk’s purported takeover bid cannot be reconciled with the charitable trust claim he is
18   advancing in this Court, or the injunction he is seeking on the back of that claim. In this Court,
19   Musk argues that OpenAI, Inc.’s assets cannot be “transferred away” for “private gain.” Dkt. No.
20   46 (PI Mot.) at 17. Accordingly, he seeks an injunction barring any “conversion” of OpenAI, Inc.
21   into a “for profit enterprise,” or any effort to “achieve the same end” by “transferring any material
22   assets, including intellectual property owned, held, or controlled by OpenAI, Inc.” Id. at ii, 17;
23   see also Dkt. No. 46-25 (Proposed Order) at 8.
24          But out of court, those constraints evidently do not apply, so long as Musk and his allies
25   are the buyers. Musk would have OpenAI, Inc. transfer all of its assets to him, for his economic
26   benefit and that of his competing AI business and hand-picked private investors.
27          The OpenAI Defendants respectfully submit that Musk’s February 10 letter further
28   exposes Plaintiffs’ preliminary injunction motion as an improper bid to undermine a competitor.

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 1   Date: February 12, 2025                         MORRISON & FOERSTER LLP

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16                                                   OpCo, LLC, OpenAI Global, LLC, OAI
                                                     Corporation, LLC, OpenAI Holdings, LLC,
17                                                   OpenAI Startup Fund Management, LLC,
                                                     OpenAI Startup Fund GP I, L.L.C., OpenAI
18                                                   Startup Fund I, L.P., OpenAI Startup Fund SPV
                                                     GP I, L.L.C., OpenAI Startup Fund SPV GP II,
19                                                   L.L.C., OpenAI Startup Fund SPV GP III,
                                                     L.L.C., OpenAI Startup Fund SPV GP IV,
20                                                   L.L.C., OpenAI Startup Fund SPV I, L.P.,
                                                     OpenAI Startup Fund SPV II, L.P., OpenAI
21                                                   Startup Fund SPV III, L.P., OpenAI Startup
                                                     Fund SPV IV, L.P., Aestas Management
22                                                   Company, LLC, and Aestas LLC
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